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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

  ULTRAVISION TECHNOLOGIES, LLC,          Case No. 2:19-cv-00291-JRG-RSP
             Plaintiff,                   (LEAD CASE)

       v.                                 JURY TRIAL DEMANDED
  HOLOPHANE EUROPE LIMITED, ACUITY
  BRANDS LIGHTING DE MEXICO DE RL
  DE CV, HOLOPHANE S.A. DE C.V., AND
  ARIZONA (TIANJIN) ELECTRONICS
  PRODUC TRADE COMPANY, LTD.
             Defendant.

  ULTRAVISION TECHNOLOGIES, LLC,          Case No 2:19-cv-00398-JRG-RSP
             Plaintiff,                   (CONSOLIDATED CASE)

       v.                                 JURY TRIAL DEMANDED
  YAHAM OPTOELECTRONICS CO., LTD.
             Defendant.

  ULTRAVISION TECHNOLOGIES, LLC,          Case No. 2:19-cv-00252-JRG-RSP
             Plaintiff,
       v.                                 JURY TRIAL DEMANDED
  SAMSUNG ELECTRONICS CO., LTD.,
             Defendant.


                    PLAINTIFF ULTRAVISION TECHNOLOGIES, LLC’S
                        OPENING CLAIM CONSTRUCTION BRIEF
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  Exhibit 1         U.S. Patent No. 8,870,410

  Exhibit 2         U.S. Patent No. 8,870,413

  Exhibit 3         U.S. Patent No. 9,734,738

  Exhibit 4         U.S. Patent No. 9,947,248

  Exhibit 5         U.S. Patent No. 10,223,946

  Exhibit 6         Preliminary Constructions from Ultravision Technologies, LLC v.
                    Lamar Advertising Co., et al., C.A. No. 2:16-cv-374 (E.D. Tex.)

  Exhibit 7         Transcript of April 26, 2017 Claim Construction Hearing in Ultravision
                    Technologies, LLC v. Lamar Advertising Co., et al., C.A. No. 2:16-cv-
                    374 (E.D. Tex. )

  Exhibit 8         Declaration of Zane Coleman, Ph.D. Regarding Claim Construction

  Exhibit 9         Declaration of Dr. Jack Josefowicz With Regard to Certain Claim
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  Exhibit 10        Merriam-Webster’s Collegiate Dictionary (11th Ed. 2004)

  Exhibit 11        The Illuminating Engineering Society’s The Lighting Handbook (10th
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  Exhibit 12        Gary Gordon, Interior Lighting for Designers (4th Ed. 2003)

  Exhibit 13        Deposition of Jack Josefowicz, Ph.D., July 7, 2020

  Exhibit 14        U.S. Patent No. 8,651,693

  Exhibit 15        June 5, 2014 Amendment in U.S. Pat. App. 13/836,612

  Exhibit 16        Illuminating Engineering Society, RP-33-99, Lighting for Exterior
                    Environments (1999)

  Exhibit 17        Illuminating Engineering Society, TM-11-00, Light Trespass: Research,
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            Pursuant to P.R. 4-5(a), plaintiff Ultravision Technologies, LLC (“Ultravision”) hereby

  submits its Opening Claim Construction Brief regarding the asserted claims of U.S. Patent Nos.

  8,870,410;1 8,870,413; 9,734,738; 9,947,248; and 10,223,946 (collectively, “Patents-in-Suit").

  The Patents-in-Suit are attached as Exs. 1-5, respectively.2

            This Court has already conducted a claim construction hearing and preliminarily

  construed several terms disputed here. That case, Ultravision Technologies, LLC v. Lamar

  Advertising Company, et al., C.A. No. 2:16-cv-374 (“the Lamar Case”), reached a settlement

  shortly after the claim construction hearing and before any final claim construction order. The

  preliminary constructions from the Lamar Case are attached as Ex. 6. The transcript of the claim

  construction hearing held on April 26, 2017 in the Lamar Case is attached as Ex. 7.

            Defendants in this case repeat several arguments that the Court preliminarily rejected in

  the Lamar Case. Defendants’ overarching claim construction theory is that every term of degree,

  primarily the word “substantially,” automatically renders the claims indefinite. But terms of

  degree, when properly used, as in these claims, are readily understood by persons of ordinary

  skill in the art.

  I.        BACKGROUND OF THE PATENTS

            The technology underlying the Patents-in-Suit was developed by Ultravision, which is

  based in Dallas, Texas. Ultravision filed the provisional patent application leading to the Patents-

  in-Suit on July 30, 2012. All of the Patents-in-Suit are based on the same specification which

  thus far has resulted in 24 issued patents in this family alone.


  1
      Unless otherwise noted, all citations will be to the ’410 patent.
  2
   Ultravision and non-party Samsung Electronics Co., Ltd. (“Samsung”) have agreed that to
  conserve resources, Samsung shall participate in this claim construction process for the purposes
  of the ’410 patent only. The ’410 patent is the only patent from this family asserted against
  Samsung in the -252 action.
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         The Patents-in-Suit describe an LED lighting apparatus with several advantages. In

  describing problems in the prior art, they explain that one problem “is that it can be difficult to

  direct light only onto the surface [] and even more difficult to do so evenly.” Ex. 1 at 2:49-51.

  “One problem with uneven illumination is that certain parts of the surface [] may be more

  brightly illuminated than other parts. This creates ‘hot spots’ that may be undesirable.” Id. at

  2:55-57. The Patents-in-Suit go on to explain that “light [which] does not strike the surface [] is

  wasted and may create problems (e.g., light pollution), as well as waste illumination that could

  be used for the surface [].” Id. at 2:62-64. The Patents-in-Suit also recognize additional

  challenges regarding heat dissipation and protecting the LEDs from environmental conditions

  such as moisture. Id. at 2:65-3:1.

         To solve these problems, the Patents-in-Suit

  disclose a lighting assembly illustratively shown in

  Figure 6A. Structurally, the embodiment shown in FIG.

  6A shows a lighting assembly 600 that includes a back

  panel 602, to which is attached multiple LED assemblies

  and an optics panel formed by multiple lens panels 604.

  Id. at 6:53-64. In discussing the lens panel more

  specifically, the Patents-in-Suit disclose a lens panel that

  may include multiple optical elements in Figure 5A.



                                               Figure 5A discloses a lens panel 500 that includes

                                               multiple optical elements 514. A single optical

                                               element 514 may be provided for each LED, or




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  multiple LEDs, or multiple optical elements may be used over a single LED. Id. at 4:64-5:3.

         The optical elements 514 are configured to provide several functional advantages of the

  projected light. First, the light from each LED is projected onto the entire surface of the desired

  target area (which, as described in an embodiment in the specification, is a billboard). Id. at 5:4-

  9. Therefore, when a single LED fails, the overall illumination decreases ever so slightly, but the

  uniformity of that illumination remains unchanged. Id. at 5:19-21. The optical elements are also

  designed so that the target area is evenly illuminated, and that the area outside the target area

  “would receive no illumination at all or at least a minimal amount of illumination from the LED

  416.” Id. at 5:9-14.

  II.    LEGAL STANDARDS

         The governing legal standards relating to claim construction are described, for example,

  in the Court’s opinion in Huawei Techs. Co. v. T-Mobile US, Inc., No. 2:16-cv-55, 2017 WL

  2190103 (E.D. Tex. May 17, 2017). See also Seoul Semiconductor Co. v. Nichia Corp., 596 F.

  Supp. 2d 1005 (E.D. Tex. 2009).

         Defendants here primarily contend that many terms from the asserted patents are

  indefinite. Patent claims are presumed valid, including under 35 U.S.C. § 112. See 35 U.S.C.

  § 282. “Indefiniteness must be proven by clear and convincing evidence.” Sonix Tech. Co. v.

  Publ’ns Int’l, Ltd., 844 F.3d 1370, 1377 (Fed. Cir.2017). Further, the Federal Circuit has

  repeatedly held that a term of degree (like “substantially uniform” and the other terms at issue

  here) is not inherently indefinite. Interval Licensing LLC v. AOL, Inc., 766 F.3d 1364, 1370 (Fed.

  Cir. 2014).3 As the Supreme Court recognized in Nautilus, “absolute precision” in claim


  3
   See also Sonix Tech., 844 F. 3d at 1379 (holding that the term of degree “visually negligible”
  was not indefinite, given that the “written description…supports the conclusion that a skilled
  artisan would have understood the term with reasonable certainty[,]” as well as the fact that “[n]o



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  language is “unattainable.” Nautilus, Inc. v. Biosig Instruments, Inc., 134 S. Ct. 2120, 2129

  (2014). See also Enzo Biochem, Inc. v. Applera Corp., 599 F.3d 1325, 1335 (Fed. Cir. 2010)

  (holding that the claim phrase “not interfering substantially” was not indefinite even though the

  construction “define[d] the term without reference to a precise numerical measurement”);

  Invitrogen Corp. v. Biocrest Mfg., L.P., 424 F.3d 1374, 1384 (Fed. Cir. 2005) (“[A] patentee

  need not define his invention with mathematical precision in order to comply with the

  definiteness requirement.”) (citation omitted).

  III.   LEVEL OF SKILL IN THE ART

         Ultravision proposes that the person of ordinary skill in the art would have a Bachelor of

  Science degree in electrical engineering, physics, optics, or its equivalent, with approximately

  two years of design experience in the field of LED lighting. Additional education would

  compensate for less experience, and vice-versa. Ex. 8, Dr. Coleman Decl., ¶ 29.

         Defendants propose that a person of ordinary skill in the art would have at least a

  Bbachelor’s degree in physics, engineering, or a related technical field, and at least 3-4 years of




  one involved in either the first or the second reexamination had any apparent difficulty in
  determining the scope of ‘visually negligible’”); Apple Inc. v. Samsung Elecs. Co., 786 F.3d 983,
  1002-03 (Fed. Cir. 2015), rev’d on other grounds, 137 S. Ct. 429 (2016) (holding that the term
  “substantially centered” was not indefinite); Deere & Co. v. Bush Hog, LLC, 703 F.3d 1349,
  1359 (Fed. Cir. 2012) (“This court has repeatedly confirmed that relative terms such as
  ‘substantially’ do not render patent claims so unclear as to prevent a person of skill in the art
  from ascertaining the scope of the claim.”); Ecolab, Inc. v. Envirochem, Inc., 264 F.3d 1358,
  1367 (Fed. Cir. 2001) (“[L]ike the term ‘about,’ the term ‘substantially’ is a descriptive term
  commonly used in patent claims[.]”); Andrew Corp. v. Gabriel Elecs., Inc., 847 F.2d 819, 821
  (Fed. Cir. 1988) (holding that terms such as “close to,” “substantially equal” and “closely
  approximate” are “ubiquitous in patent claims”); Max Blu Techs., LLC v. Cinedigm Corp., No.
  2:15-cv-1369-JRG, 2016 WL 3688801, *28 (E.D. Tex. July 12, 2016) (holding that “[t]erms of
  degree are not indefinite if the patent provides some objective standard for measuring the
  degree” and finding that because “the Asserted Patents provide a standard for measuring
  ’substantially[,]’” “the meaning of ‘substantially flat and coplanar’ is reasonably certain”).


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  experience in the field of light emitting diode (LED) devices, or an equivalent advanced

  education in the field of LED devices. Ex. 9, Josefowicz Decl., ¶ 22.

           The two proposed levels of skill are virtually identical except for the number of years of

  experience in the field of LED lighting devices, and the difference does not impact the analysis.

  IV.      AGREED TERMS

           The Parties have agreed to the following constructions:

                          Term                                          Construction
       Acrylic material                                 Material containing primarily acrylates

       Acrylic material substrate                       Substrate containing primarily acrylates



  V.       DISPUTED TERMS

           A.      Substantially Transparent

                Term                           Ultravision                      Defendants
   substantially transparent         Plain and ordinary meaning        Indefinite
                                     or, in the alternative,
   ’410 patent, claims 1, 13
   ’413 patent, claims 5, 11, 18   “clear”
         The claims in which this term appears all relate to the characteristics of the substrate

  containing the optical elements, such as lenses. For example, claim 1 of the ’410 patent requires

  “a substantially transparent substrate comprising a plurality of optical elements disposed over the

  plurality of LEDs . . .”. The meaning of the term “substantially transparent” would have been

  understood to a person of ordinary skill in the art to not be indefinite and should be accorded its

  plain and ordinary meaning. In the event construction is deemed necessary, Ultravision proposes

  the synonym “clear.” Defendants’ claim that this term is indefinite is incorrect.

           The claims must be read in the context of the specification and the understanding of the




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  person of ordinary skill in the art at the time the invention was made.4 The specification

  describes the substrate on which the lenses are formed as either “transparent” or “substantially

  transparent.” See Ex. 1, Abstract; 1:21-28; 5:26-29. For example, the Abstract states that “[a]

  substantially transparent substrate is disposed over the plurality of LEDs and configured to direct

  light from each of the plurality of LEDs of the lighting assembly onto a surface having a

  predetermined bounded area.” Id., Abstract.

         It is often the case that lenses are designed to be as transparent as possible, to avoid

  wasting light that could otherwise be directed towards the target area. But lenses may be

  designed with less than maximum transparency, for example, to scatter light. Ex. 8, Coleman

  Decl., ¶ 33. Diffusion-type lenses can be used to create softer lighting effects, at the expense of

  less control over the light. Id. But, when there is a desire to precisely control the redirection of

  light, transparent lenses are used. Id.

         The person of ordinary skill in the art would have understood that the phrase

  “substantially transparent” as used in the claims refers to the substrate that forms the optical

  elements being transparent or clear as opposed to diffusing or light scattering. Id. ¶ 34. This is

  consistent with the goals of the invention, which requires the precise control of light to provide

  for even illumination on a target area. Ex. 1, Abstract. The person of ordinary skill in the art

  would understand that from an engineering perspective, it is extraordinarily difficult to create an

  optical element with a complete absence of imperfections, and thus a lens with 100%



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    CryptoPeak Sols., LLC v. Lowe's Home Ctrs., No. 2:15-cv-1737-RWS-RSP, 2016 WL
  7198705, at *5 (E.D. Tex. Sept. 9, 2016) (Payne, J.) (“‘[T]his court does not interpret claim
  terms in a vacuum, devoid of the context of the claim as a whole.’ The relevant inquiry is
  whether the claim as a whole provides reasonable certainty to one of ordinary skill in the art
  about the subject matter it covers.”) (quoting Kyocera Wireless Corp. v. ITC, 545 F.3d 1340,
  1347 (Fed. Cir. 2008)).


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  transparency is effectively not possible. Ex. 8, ¶ 35. Dr. Josefowicz agreed that nothing is 100%

  transparent.

         As the claim term relates to the entire substrate on which the lenses are formed, rather

  than just the individual lenses themselves, the person of ordinary skill in the art would also

  understand that the entire substrate could not be perfectly transparent. For example, there would

  need to be some sort of mechanism to attach the substrate to the rest of the luminaire, such as a

  glue or screws, which are not transparent. Id. Additionally, the process of injection molding the

  substrate may leave small surface artifacts, such as parting lines, which may not be transparent.

  Id. In each of these cases, the person of ordinary skill in the art would still consider the substrate

  to be “substantially transparent.” Id.

         Ultravision’s proposal is also consistent with the extrinsic evidence. Merriam-Webster’s

  Collegiate Dictionary (11thh Ed. 2004) defines “transparent” as “having the property of

  transmitting light without appreciable scattering so that bodies lying beyond are seen clearly.”

  Ex. 10. Notably, Webster’s also recognizes that perfect transparency is not possible and thus

  defines the property as not having “appreciable” scattering, not unlike the claim’s use of the term

  “substantially” to modify transparent. The Illuminating Engineering Society’s (IES) The

  Lighting Handbook, 10th Ed. 2011), which a person of ordinary skill in the art would have been

  familiar with and would consider useful in the field of lighting (Ex. 8, ¶ 37), states that “[i]f

  transmissive material does little or no scattering and if the incident and exitant planes of the

  material are parallel, then rays are offset, but have the same direction. In this case the material is

  said to be ‘transparent.’” Ex. 11, p. 1.21. The Lighting Handbook also appreciates that a

  transparent material “does little or no scattering,” again reinforcing that the person of ordinary

  skill in the art would understand that “substantially transparent” would be understood by a




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  person of ordinary skill in the art. Ex. 8, ¶¶ 37-38.

         Although a person of ordinary skill in the art would have understood the plain meaning of

  “substantially transparent” and no construction is necessary, Ultravision’s alternative proposal

  “clear” is also supported by the evidence. A substantially transparent object that does not have

  appreciable light scattering, such as a window, appears to be clear. Ex. 8, ¶ 38. In the interior

  lighting industry, the term transparent is defined as “having the property of transmitting light

  without altering its distribution, so that objects beyond are seen clearly.” Ex. 12, Gary Gordon,

  Interior Lighting for Designers (4th ed. 2003), at p. 283 (emphasis added). To see through

  something clearly, the object must be substantially transparent as opposed to opaque.

         Defendants argue that because transparency can be measured on a scale of 0%

  transparent to 100% transparent, and the Patents-in-Suit do not provide a precise point on that

  scale at which the material becomes “substantially transparent” as claimed, that the term is

  therefore indefinite. But this is contrary to the knowledge of a person of ordinary skill in the art,

  the extrinsic evidence, and the weight of the case law. “Substantially transparent” has been

  construed to mean “allowing light to pass through almost undisturbed, such that one can see

  through it clearly.” Bridgelux, Inc. v. Cree, Inc., C.A. 9:06-cv-240, 2008 WL 2325623, at *7

  (E.D. Tex. June 3, 2008). In Bridgelux, the claim was directed to a light emitting diode chip

  comprising a “substantially transparent substrate,” and neither party raised any issues related to

  indefiniteness. Nor is the use of the term of degree “substantially” terminal to the definiteness of

  the claim, read in light of the specification, the person of ordinary skill in the art would have

  understood the meaning of the term. This Court’s analysis and construction of a similar claim

  term in Max Blu Techs., 2016 WL 3688801 is particularly instructive. In Max Blu Techs., the

  defendant—just like Defendants here—argued “that the word ‘substantially’ [in the claim term




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  “substantially flat and coplanar”] render[ed] the term indefinite as ‘substantially’ is a term of

  degree and the Asserted Patents do not provide any guidance for measuring that degree.” Id. at

  *27. This Court disagreed, holding that “the patents provide[d] sufficient guidance for

  understanding the degree of flatness and coplanarity in that they describe the technological

  purpose for having flat and coplanar land tops—for use in flying head applications.” Id. at *27.

  Here, as in Max Blu, the Patents-in-Suit make clear that the object of the invention is to provide

  for precise light control, meaning that a transparent lens and not a diffusion lens is used.

  “Substantially” is used in the claim to reflect the realities of manufacturing and designing the

  claimed substrate. Failure to provide a precise percentage of light transmission does not render

  the claim indefinite.

         Defendants’ expert, Dr. Josefowicz, states that there are “a multitude of approaches one

  could take to [sic] deciding how much is ‘substantially transparent’ when designing a lighting

  module.” Ex. 9, Josefowicz Decl., ¶ 31. But when pressed at his deposition, Dr. Josefowicz

  admitted that the person of ordinary skill in the art would understand that optics have a particular

  transparency:

                  THE WITNESS: No. I'm just saying that's one approach. I was
                  answering your question. Typically -- and I speak from my own
                  experience. Typically, one knows the distribution that you want to
                  provide from the luminaire is. So you develop optics for it, and those
                  optics have a particular transparency. I mean, typically, that's how
                  it works. If transparency is significantly low, then one would have
                  to understand what it's due to. It could be due to several factors about
                  the optics component.

  Ex. 13, Josefowicz Depo. Tr., 73:25-74:9 (emphasis added). Dr. Josefowicz’s also admitted that

  the person of ordinary skill in the art would understand that the materials used to create lenses

  have some surface roughness which can scatter light, as well as voids and defects in the material

  that can cause some scattering. Id. at 76:24-77:22.



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         Understanding the same engineering issues as Dr. Coleman, Dr. Josefowicz nonetheless

  would require a precise optical efficiency to be claimed in order for the claim to be definite. Dr.

  Josefowicz also takes the position that the term “transparent,” without “substantially,” would still

  be indefinite unless a specific optical efficiency was claimed. Id. at 87:15-18. Yet, Dr.

  Josefowicz uses the term “transparent” without hesitation in his own patents. Ex. 1413U.S.

  Patent No. 8,651,693, 4:18-19 (“Transparent polycarbonate, glass or other light transparent

  material can also be used for this lens design.”) (emphasis added). And, Dr. Josefowicz admitted

  that no material is 100% transparent. Ex. 13, 118:13-15 (“You said earlier that nothing is 100

  percent transparent, correct? A: Yes.”). Dr. Josefowicz’s results-driven opinion that is

  inconsistent with the admitted optical engineering realities and inconsistent with his usage of the

  term in his own patent should be rejected.

         Because the person of ordinary skill in the art would understand the meaning of

  “substantially transparent,” which is consistent with the extrinsic evidence, Ultravision’s

  proposal should be adopted and the term should be accorded its plain meaning.

         B.      A First Lens Element and a Second Lens Element Disposed Over the First
                 Lens Element

                 Term                       Ultravision                        Defendants
   [each of the plurality of        Plain and ordinary meaning       “[each of the plurality of
   optical elements comprises] a                                     optical elements comprises] a
   first lens element and a                                          lens with two optical surfaces
   second lens element disposed                                      placed or arranged on another
   over the first lens element                                       lens with two optical
                                                                     surfaces.”
   ’410 patent: 1, 16, 22;
   ’413 patent: 3, 7, 13


         Claim 1 of the ’410 patent (Ex.1) requires that “each of the plurality of optical elements

  comprises a first lens element and a second lens element disposed over the first lens element.”




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  The context of the claim is clear that the optical element has two “lens elements” on top of each

  other. Defendants’ attempt to rewrite the claim should be rejected for several reasons. First,

  Defendants’ construction is nonsensical and likely indefinite. The claim requires an optical

  element with two lens elements, yet Defendants’ construction requires “a lens with two optical

  surfaces.” If Defendants stopped here, the construction would at least be logically consistent.

  But then Defendants introduce the concept of “another lens with two optical surfaces.”

  Defendants’ construction appears to require two lenses, each with two optical surfaces, that are

  placed atop one another. But that is not what the claim term says, and Defendants’ attempt to

  add a claim limitation where none exists should be rejected.

         In the Lamar Case, several terms in this patent family relating to “optical element” were

  preliminarily construed, including optical elements that comprise a “first element . . . a second

  element . . . and a third element” and “optical elements each including a first portion, a second

  portion, and a third portion.” Ultravision proposed a plain meaning construction as it does here,

  while Defendants’ proposed “an assembly of lenses, distinct from a single reflecting prism.” In

  its preliminary constructions, the Court agreed with Ultravision and rejected Defendants’

  construction. Ex. 6, at 2.

         Here, as in Lamar, there is no reason to construe this term. The term “optical element”

  and the corresponding requirement that each optical element have two “lens elements” that are

  disposed on top of one another, are words that the jury can easily understand without further

  construction. The claim language itself defines the properties and structure of each “optical

  element.” Phillips v. AWH Corp., 415 F.3d 1303, 1312 (Fed. Cir. 2005).

         Consistent with the plain meaning of the claim language, the specification illustrates

  several preferred embodiments of optical elements. For example, Figure 5C discloses a sinstrate




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  520 that has “a plurality of lens structures 522, each associated with one of the LEDs 416.” Ex.

  1, 5:29-31. And Figure 5D shows the detail of the lens structure 522, which includes “an interior

  surface 524 and an exterior surface 526 that shapes and directs the light in the correct pattern.”

  Id. at 5:43-46.




         The specification further explains that “[i]n some embodiments, the optical elements 514

  may be provided by a single multi-layer optical element system provided by the lens panel 500.”

  Id. at 5:1-3. Again, nothing in the specification supports Defendants’ proposal to read a

  limitation into the claims that the identified phrases be limited to two different lenses, each with

  two surfaces that sit atop each other, when that is not what is claimed.

         C.         Substantially the Entire Display Surface

               Term                         Ultravision                     Defendants
   Substantially the entire        Not indefinite                  Indefinite
   display surface
   (’410 patent, claims 1, 15, 21) Plain and ordinary meaning
         Continuing their theme of quibbling with terms of degree, Defendants again argue that

  “substantially the entire display surface” is indefinite. Claim 1 of the ’410 patent (Ex. 1) requires

  the light to be directed “through the first lens element and the second lens element across the


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  entire area of the display surface so that each LED evenly illuminates substantially the entire

  display surface with a substantially equal level of illumination from each of the LEDs.”

  (emphasis added). Because a person of ordinary skill in the art, reading the claim in the context

  of the specification, would have understood this term, it is definite. The term should be accorded

  its plain and ordinary meaning because the jury can readily understand its meaning without

  construction.

         As described by the Patents-in-Suit, “if all other LEDs 416 were switched off except for a

  single LED 416, the entire surface 102 would be illuminated at the level of illumination provided

  by the single LED 416.” Ex. 1, 5:6-9. As explained by Dr. Coleman, “a person of ordinary skill

  in the art would understand that these claims are directed to the requirement that each LED must

  individually provide even illumination to the entire display surface rather than each LED only

  providing illumination to a portion of the display surface, or each LED providing greater

  illumination in some areas of the display surface and less illumination in other areas.” Ex. 8, ¶

  41. The effect of designing the luminaire in this way is that when one LED fails, the overall

  illumination of the display decreases slightly, but the evenness of the light is not changed. Ex. 1,

  5:19-21.

         Here, as with “substantially” transparent, the claim uses the phrase “substantially” in

  recognition of the real-world engineering problems encountered in optics. There may be design

  tolerances, manufacturing tolerances or imperfections, or installation issues that may cause an

  insubstantial portion of the display surface, such as the trim on a billboard display, to not be

  illuminated by every LED. Ex. 8, ¶ 41. But the person of ordinary skill in the art reading the

  specification would understand what is not claimed: an apparatus where each LED illuminates an

  individual point on the display surface. Such a design would cause a dead spot and an increase




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  in unevenness in the event one LED fails. The prosecution history informs this interpretation.

  During prosecution of the ’410 patent, the claims were rejected over an obviousness combination

  of U.S. Publication No. 2004/0004827 to Guest (“Guest”) and U.S. Patent No. 7,896,522 to

  Heller et al. (“Heller”). Ultravision argued that Guest and Heller were not combinable because

  “Guest teaches producing a uniform light output using multiple reflections (crisscrossing of light

  beams) while Heller teaches using separate focused light for illuminating different parts of the

  output.” Ex. 15, June 5, 2014 Amendment in U.S. Patent Application Serial No. 13/836,612.

  The applicant distinguished the precise type of “spot illumination” pattern that is not claimed.

         Defendants’ expert again attempts to quantify the coverage area with a percentage and

  argues that the term requires selecting a specific percentage. Ex. 9, Josefowicz Decl., ¶ 44. But,

  when shown a photograph of a lit road sign at his deposition, he had no issue testifying that he

  could tell that substantially the entire display surface was evenly lit. Ex. 13, Josefowicz Tr.,

  167:5-9 (Q: Is substantially the entire display surface lit? A: It looks like it, because the white

  border is fully lit, yeah.”). This admission alone is fatal to Defendants’ indefiniteness argument.

         Here, again, the situation comports with this Court’s analysis in Max Blu. Although the

  specification does not provide a precise amount of display area not illuminated by each LED, it

  does describe the “technical purpose” for having this feature. Max Blu Techs., 2016 WL

  32688801, at *27. That technical purpose, preventing the display surface from uneven lighting

  in the event of an LED failure, is consistent with the statements in the specification and the file

  history. Ultravision’s plain and ordinary meaning construction should be adopted.

         D.      Uniformity Terms

               Term                            Ultravision                      Defendants
   Substantially uniform                                               Indefinite
   (’410 patent, claim 10)




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                Term                       Ultravision                          Defendants
   Substantially equal level of    “does not create noticeable
   illumination                    unevenness, such as hot spots
   (’410 patent, claims 1, 15, 21) and dead spots”
   A uniformity . . . remains
   substantially unchanged
   (’248 patent, claim 3)
   the uniformity of light . . .
   remains substantially the
   same
   (’738 patent, claims 19, 20;
   ’946 patent, claim 12)

         The Court has already preliminarily construed “substantially uniform” and “uniform

  illumination” to mean “does not create noticeable unevenness, such as hot spots or dead spots.”

  Ex. 6, p.1. Ultravision proposes that the Court arrived at the proper construction. As recognized

  by the Court, this construction requires the unevenness to be “noticeable” to someone, and the

  person of ordinary skill in the art would understand in the context of this technology what is

  noticeable to an observer. Id. at 11:25-12:4. Defendants’ indefiniteness argument should be

  rejected for a second time.

         When considering the indefiniteness of a particular claim, the disputed term must be

  considered in the context of the overall claim as a whole and not in a vacuum. Ultravision used

  the term “substantially uniform” in independent claim 10 of the ’410 Patent. Claim 10 is directed

  to an “optics panel for use in a light emitting diode (LED) lighting assembly for illuminating a

  billboard” and is generally comprised, in part, of “a plurality of LEDs” and “a plurality of

  lenses.” Ex. 1 at 9:5–17. The claim also recites “wherein the light intensity from each lens is

  substantially uniform across the entire display surface.” (emphasis added). Id. at 9:15–17,

  10:60–61.

         The context of the claim as a whole provides reasonable certainty to one of ordinary skill

  in the art about the scope of the invention because it describes in detail the structure used to



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  reach the desired objective of “substantially uniform” light intensity across a display surface of a

  billboard. Specifically, the “wherein” clause in which the term “substantially uniform” is used

  speaks directly to the “light intensity” being described, the origin of the “light intensity” (i.e.,

  “from each lens”), as well as the target and location across which “the light intensity” is being

  directed (i.e., “the entire display surface” of a billboard). Thus, the language preceding and

  following the term “substantially uniform” provides important context for how the term is used

  in the claim.

          The specification further informs those skilled in the art about the scope of the invention.

  First, the specification explains how a person of ordinary skill in the art recognizes when the

  illumination is not uniform. The specification explains that prior art lighting technology made it

  difficult to direct light uniformly. Id. at 2:49–55. The specification explains that this uneven

  illumination creates “hot spots” (i.e., bright spots) that are undesirable:

                  One problem with uneven illumination is that certain parts of the
                  surface 102 may be more brightly illuminated than other parts. This
                  creates “hot spots” that may be undesirable. Attempting to evenly
                  illuminate the surface 102 may cause light to be directed past the
                  edges 112, 114, 116, and 118 as attempts are made to balance out
                  hot spots in particular areas.

  Id. at 2:55–61 (emphasis added). The specification further contrasts these “hot spots” with “dead

  spots” (i.e., dark spots) on the billboard surface: “[t]he minimum distance is designed such that

  overlapping light from adjacent LEDs does not create interference patterns and result in dead

  spots on the surface.” Id. at 5:33–35.

          Second, the specification explains how the LED light assembly uniformly illuminates a

  billboard to avoid these hot spots and dead spots. The specification describes properly directing

  the illumination to “minimiz[e] any noticeable unevenness in the overall illumination, even if

  one of the remaining LEDs 416 malfunctions” to realize the benefit of overlapping and



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  redundant coverage on the billboard. Id. at 6:21–23. And the specification describes and

  illustrates multiple embodiments of optical elements that are specifically designed to create the

  “substantially uniform” light intensity on the billboard surface. See, e.g., id. at 5:37–38 (“the lens

  structure is designed to ‘direct’ the light from an edge of the surface to cover the entire surface”);

  Figures 5A–5D and 8D–8J. The specification further explains that light from the LEDs is

  directed by these optical elements “so that each LED illuminates substantially the entire surface

  with a substantially equal level of illumination per LED.” Id. at 1:27–29 (emphasis added).

  Taken together, these portions of the specification inform a person of ordinary skill in the art

  about the scope of the invention with reasonable certainty.

          Therefore, the claims including the term “substantially uniform” are not indefinite

  because when “viewed in light of the specification and prosecution history, [the claim(s)]

  inform[(s)] those skilled in the art about the scope of the invention with reasonable certainty.”

  Nautilus, 134 S. Ct. at 2129. This Court’s analysis and construction of a similar claim term in

  Max Blu Techs., 2016 WL 3688801 is particularly instructive. In Max Blu Techs., the

  defendant—just like Defendants here—argued “that the word ‘substantially’ [in the claim term

  “substantially flat and coplanar”] render[ed] the term indefinite as ‘substantially’ is a term of

  degree and the Asserted Patents do not provide any guidance for measuring that degree.” Id. at

  *27. This Court disagreed, holding that “the patents provide[d] sufficient guidance for

  understanding the degree of flatness and coplanarity in that they describe the technological

  purpose for having flat and coplanar land tops—for use in flying head applications.” Id. This is

  precisely the type and level of guidance provided in the ’410 Patent for the term “substantially

  uniform.” The specification of the ’410 Patent explains the purpose of having light uniformity—

  it prevents “hot spots” (i.e., bright spots) that cause limited visibility and legibility of the




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  advertising content (Ex. 1 at 2:49–61) and “minimiz[es] any noticeable unevenness in the overall

  illumination” (id. at 6:21–23).

         Extrinsic evidence also supports Ultravision’s position that this term is not indefinite.

  For example, IES Publication RP-33-99, Lighting for Exterior Environments (1999), Ex. 16,

  describes that “[i]t is often necessary to illuminate large vertical displays uniformly” and that

  “the lighting should provide even illumination over the entire surface.” Id. at p. 34. It advises

  that one should “[c]arefully select floodlight luminaires

  which will not create ‘hot spots’ on the display.” Id.

  And it even provides an example of the front façade of

  the Cleveland Art Museum as “an example of good

  vertical surface illumination that is uniform over the

  entire façade.” Id. at 35. The extrinsic evidence shows that there is commonly understood

  criteria in the art for determining the uniformity of the light intensity for LED lighting in the

  context of noticeable unevenness, such as hot spots or dead spots on the surface that is being

  illuminated. Ex. 8, Coleman Decl., ¶ 53. Therefore, this term is not indefinite.

         Certain asserted claims here, not at issue in the Lamar Case, require that the uniformity of

  light remains “substantially the same” or “substantially unchanged.” The Parties agree that the

  effect of these claim phrases is the same as “substantially uniform” and that they should be

  construed together.




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         E.      Substantially no Illumination

               Term                           Ultravision                       Defendants
   Substantially no illumination     plain and ordinary meaning        Indefinite

   ’410 patent, claims 7, 12, 19,
   and 25
   ’413 patent, claims 2, 17

   Areas beyond edges . . .
   receive substantially no
   illumination

   ’410 patent, claims 7, 12, 19,
   25

         “Substantially no illumination” was preliminarily construed in the Lamar Case to mean

  “no illumination.” The Court has already rejected the indefiniteness of this term, and should do

  so again. However, because the previous preliminary construction removed the term

  “substantially” from the claim, and because “substantially no illumination” is readily understood

  by the jury without additional construction, Ultravision proposes a plain meaning construction.

         “Substantially no illumination” is used in dependent claims in the context of defining

  areas where light is not desirable, generally referred to as light trespass or light pollution. For

  example, claim 7 of the ’410 patent states that “areas beyond edges of the display surface receive

  substantially no illumination from each of the LEDs.” Ex. 1, claim 7. Each usage in the claims

  is related to areas beyond the edges of the display surface, where incident light is not desirable.

         The specification provides guidance to a person of ordinary skill in the art as to the

  meaning of these terms. For example, the Patents-in-Suit discuss problems associated with light

  being directed outside of the target area. They describe that “light that does not strike the surface

  102 is wasted and may create problems (e.g., light pollution), as well as waste illumination that

  could be used for the surface 102.” Ex. 1, 2:61-64. The person of ordinary skill in the art would

  understand that illumination areas beyond the display surface are referred to as “light trespass,”


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  which causes light pollution, and occurs when an “[a]djacent property receives unwanted light,”

  such as when light is not properly or adequately “[c]ontain[ed] [] within the design area.” Ex.

  16, Illuminating Engineering Society, RP-33-99, Lighting for Exterior Environments (1999), at

  p. 11. The Illumination Engineering Society has defined obtrusive light as “unwanted light,

  which, because of quantitative, directional, or spectral attributes in a given context, gives rise to

  annoyance, discomfort, distraction, or a reduction in the ability to see essential information.” Id.

  at 47. Light trespass is a known problem in optical engineering with severe consequences that

  impact quality of life. Ex. 8, ¶¶ 57-63. Thus, one of ordinary skill would understand in view of

  the desirability of avoiding light trespass by prevent any light other than an insubstantial amount

  from illuminating areas beyond the edges of a display surface. Id. ¶¶ 63-64.

         Defendants repeat their position that “substantially” renders the claim indefinite. But

  again, when the patents provide the “technical purpose” for having this feature (Max Blu Techs.,

  2016 WL 3688801, at *27), the person of ordinary skill in the art would understand the claim to

  be definite. Here, a single photon of light that spills outside the display surface would be

  understood by a person of ordinary skill in the art to not be “light trespass,” and the claimed

  optic would still meet the claims. Ex. 8, ¶ 64. The plain meaning of “substantially no

  illumination” should be adopted.

         F.      Minimal/Minimum Illumination

               Term                           Ultravision                       Defendants
   Minimal amount of                 “Compliant with IES               Indefinite
   illumination                      recommended light trespass
                                     guidelines.”
   ’413 patent, claims 6, 16




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               Term                           Ultravision                      Defendants
   Areas beyond edges . . .
   receive minimum
   illumination

   ’738 patent, claim 19

         These terms, like “substantially no illumination,” refer to the amount of light that spills

  outside the desired display area. For example, claim 6 of the ’413 patent (Ex. 2) states that

  “areas beyond edges of the display surface receive minimal amount of illumination from each of

  the LEDs.” The Court had previously preliminarily construed these terms (appearing in other

  patents and claims in this family) to be indefinite. Ex. 6, at 2. There, however, Ultravision had

  advanced a construction centered around the concept of light pollution, rather than light trespass,

  due to the claims in that action being limited to billboard lights only. When considering the

  broader lighting industry, as well as the knowledge of a person of ordinary skill in the art which

  would include IES guidelines, Ultravision’s proposed construction renders the claim definite.

  Ex. 8, ¶ 68.

         As discussed above, the person of ordinary skill in the art would be familiar with the

  desirability of providing illumination only on the desired surface, and not beyond its edges. Ex.

  1, 2:61-64. While the “substantially no illumination” term is fairly restrictive, the claims

  requiring only that a “minimal amount of illumination” is provided beyond the edges of the

  display surface provides somewhat more leeway as long as light trespass is avoided. Ex. 8, ¶ 68.

         Various organizations and industry groups have devoted significant resources to the issue

  of light trespass, and developed industry-recognized guidelines regarding the amount of light

  trespass that is permissible under various circumstances. Id. ¶ 70. One of the most recognized

  groups is the Illuminating Engineering Society, or IES. The IES publishes The Lighting

  Handbook, which is a reference that the person of ordinary skill in the art would have been



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  familiar. Id. In addition to The Lighting Handbook, the IES has also issued IES Publication TM-

  11-00, Light Trespass: Research, Results, and Recommendations (2000) (Ex. 17). These

  guidelines recognize that different light trespass requirements apply to different areas, for

  example, dense urban areas that already have high levels of light can absorb higher levels of light

  trespass than national parks. Ex. 8, ¶ 71. The IES guidelines define four environmental zones:

                 E1. Areas with intrinsically dark landscapes. Examples are national
                 parks, areas of outstanding natural beauty, or residential areas where
                 inhabitants have expressed a strong desire for strict limitations of
                 light trespass.
                 E2. Areas of low ambient brightness. These may be suburban and
                 rural residential areas. Roadways may be lighted to typical
                 residential standards.
                 E3. Areas of medium ambient brightness. These will generally be
                 urban residential areas. Roadway lighting will normally be to traffic
                 route standards.
                 E4. Areas of high ambient brightness. Normally this category will
                 include dense urban areas with mixed residential and commercial
                 use with a high level of nighttime activity.

         Ex. 17, p. 6. These guidelines also recognize that different levels of light trespass may be

  appropriate at different times of day/night. The guidelines also provide the following

  “recommended light trespass limitations,” measured in Lux:




  Id. , p. 7; Ex. 8 ¶ 72. These guidelines are a commonly understood standard or criteria in the art

  for determining the minimum illumination beyond edges of the billboard for LED lighting in the

  context of avoiding light pollution in the form of light trespass.

         With the knowledge that the person of ordinary skill in the art would understand that the



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  IES guidelines provide recommended illuminance levels for light trespass (of which light

  pollution is a type), the specification of the Patents-in-Suit also provides sufficient guidance for

  understanding these claim terms. The ’410 patent describes that “the rectangular target area of

  the surface 102 would be evenly illuminated by the LED 416, while areas beyond the edges 112,

  114, 116, and 118 would receive no illumination at all or at least a minimal amount of

  illumination from the LED 416.” Ex. 1, 5:10-14. “[L]ight that does not strike the surface 102 is

  wasted and may create problems (e.g., light pollution), as well as waste illumination that could

  be used for the surface 102.” Ex. 1, 2:61-64. The person of ordinary skill in the art would have

  understood that the “wasted light” problem described in the specification refers to light trespass.

  Ex. 8, ¶¶ 69, 70. As this evidence was not previously before the Court, and the Court’s

  indefiniteness ruling was made in the context of billboard-only claims in which light pollution

  (not light trespass) was the only enumerated problem, Ultravision respectfully requests the Court

  construe this term to mean “compliant with IES recommended light trespass guidelines.”

         G.      Heat Sink

               Term                           Ultravision                        Defendants
   [optics panel is configured to    Not indefinite,                   “[optics panel is configured
   be attached to] a heat sink       plain and ordinary meaning        to be attached to] a structure
   comprising a power supply                                           for increasing heat dissipation
   enclosure disposed on the                                           from the optics panel on
   heat sink                                                           which a power supply
                                                                       enclosure is placed or
   ’410 patent, claim 11                                               arranged”
   ’413 patent, claim 11
                                                                       Or

                                                                    Indefinite
         This claim phrase appears in the context of the optics panel being “configured to be

  attached to a heat sink comprising a power supply enclosure disposed on the heat sink.”

  Defendants attempt to define “heat sink” as “a structure for increasing heat dissipation from the




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  optics panel.” Because the claim does not specifically require the heat sink to dissipate heat from

  the optics panel, this re-writing of the claim should be rejected. For example, the heat sink may

  dissipate heat from the power supply that is disposed on it. Ex. 8, ¶ 76.

         Two figures from the specification are

  informative. First, Figure 3B discloses that the

  back surface of the light panel 304 may be

  configured with a heat sink provided by fins 322

  (Ex. 1, 3:64-67). And Figure 6C discloses a power

  supply enclosure 610 mounted to the heat sink.

         Because this phrase is readily

  understandable to the person of ordinary skill in the art, it is not indefinite. And because

  Defendant’s proposed construction adds a specific requirement that the heat sink dissipates heat

  from the optics panel, when it could also dissipate heat from the power supply, this construction

  must be rejected.

         Dr. Josefowicz testified that the heat sink may dissipate heat from both the optics panel

  and the power supply in the embodiments of the Patents-in-Suit. 6, Josefowicz Tr., 192:22-24;

  194:12-15. When asked why Defendants included the limitation that the heatsink dissipates heat

  from the optics panel but not the power supply, he admitted that, according to him, one of

  ordinary skill in the art would not use the term “optics panel” to include heat-generating LEDs.

  Id. at 190:21-191:11.

         There is no dispute that the heatsink in the embodiments of the patents dissipate heat

  from the heat-generating elements of the panels: the LED’s and the power supply. Defendants

  have identified no need to specify in this construction which components have their heat




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  dissipated by the heat sink except to manufacture a non-infringement argument. Since

  Defendants’ construction seeks only to introduce an ambiguity and not to clarify claim scope for

  the jury, its construction should be rejected.

         H.      Preambles

               Term                      Ultravision                         Defendants
   An optics panel for use in a These preambles are not             Preambles limiting
   light emitting diode (LED) limiting
   lighting assembly
   comprising                   plain and ordinary meaning

   ’410 patent, claims 1, 15,
   21
   ’413 patent, claim 16
   An optics panel for use in a
   light emitting diode (LED)
   lighting assembly for
   illuminating a billboard
   that has a display surface
   extending between outer
   edges of the billboard, the
   optics panel comprising

   ’410 patent, claim 10
   ’413 patent, claims 1, 5,
   11,
         As a general rule, preamble language is not treated as limiting. Aspex Eyewear, Inc. v.

  Marchon Eyewear, Inc., 672 F.3d 1335, 1347 (Fed. Cir. 2012). The preamble does not limit the

  claim where a patentee “defines a structurally complete invention in the claim body and uses the

  preamble only to state a purpose or intended use for the invention.” Arctic Cat Inc. v. GEP

  Power Prods., Inc., 919 F.3d 1320, 1328 (Fed. Cir. 2019). “[T]he rule against giving invention-

  defining effect to intended-use preamble language reflects a longstanding substantive aspect of

  the patent statute—specifically, the ‘well settled’ fundamental principle ‘that the recitation of a

  new intended use for an old product does not make a claim to that old product patentable.’” Id.

  (citations omitted). Neither of these preambles are limiting because the claims each recite a



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  structurally complete invention without the need for the preamble.

         The first of the disputed preambles simply recites an “optics panel for use in a light

  emitting diode (LED) lighting assembly.” Taking claim 1 of the ’410 patent as an example, the

  claim then goes on to require a plurality of LEDs and a substantially transparent substrate

  containing optical elements disposed over the LEDs. Ex. 1, claim 1. The claim does require that

  the optical elements are configured to direct light “from each of the plurality of LEDs of the

  lighting assembly onto a display surface.” But the “lighting assembly” recited in the claim is not

  a claimed element of the invention. The LEDs and optical elements are what is claimed, and the

  preamble provides no antecedent basis for the claimed invention.

         The second preamble recites “[a]n optics panel for use in a light emitting diode (LED)

  lighting assembly for illuminating a billboard that has a display surface extending between outer

  edges of the billboard, the optics panel comprising . . .” Id. at 9:5-9. Here, not only is the “optics

  panel” defined as a structurally complete invention in the body of each claim, the preamble

  includes the statement of intended use “for illuminating a billboard . . .”. But the claims

  themselves are not limited to use on a billboard. And the only antecedent basis that the claims

  find in the preamble is the term “display surface” (which is subject to a disputed construction,

  below). Defendants attempt to create a limiting preamble because it would limit the claims to

  billboard lights only should be rejected.5

         If the preamble provides antecedent basis for a term in the claim, it may be limiting.

  Catalina Mktg. Int’l Inc. v. Coolsavings.com, Inc., 289 F.3d 801, 808 (Fed. Cir. 2002). “[N]ot



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    Ultravision does not dispute that Claim 10 of the ’410 patent, which specifically recites that the
  light from each lens is directed across the entire display surface of the billboard, is limited to
  billboard lighting products only. But, as the preamble still merely only defines an intended use,
  Ultravision maintains that the preamble is not limiting.


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  every preamble reference to additional structure is limiting, even when the structure is noted in

  the specification—even, indeed, when the structure is ‘underscored as important by the

  specification.’” Arctic Cat, 919 F.3d at 1329 (quoting Catalina, 289 F.3d at 808). Here, the

  additional reference to a lighting assembly “for illuminating a billboard . . .” provides no

  additional structure, and merely states a non-limiting intended use. The only antecedent basis

  found in the preamble is the term “display surface,” which is not a part of the claimed invention.

  While the claimed invention is an apparatus for illuminating a display surface, the display

  surface is not itself part of the claimed invention. Defendants, for example, are accused of

  selling, offering to sell, and importing lighting products into the United States that are used for

  illuminating display surfaces, but do not (to Ultravision’s knowledge) sell display surfaces

  themselves. Because the claims themselves define structurally complete inventions and do not

  provide antecedent basis for the claimed invention, the preambles do not limit the claims.

         I.      Area Terms

              Term                            Ultravision                        Defendants
   Area                              plain and ordinary meaning        “sign” / “rectangular sign”
   Rectangular area
   Rectangular region

         These three terms and the “display surface” term below represent Defendants’ attempt to

  limit all claims of these patents to billboard lighting applications. Because this is an improperly

  narrow reading of the claims that limit them to only the disclosed embodiments, such an

  interpretation would be error.

         Claim 1 of the ’946 patent recites that the light assembly is “configured to direct light

  from the LEDs towards an area in a manner that does not create hot spots or result in dead

  spots.” Ex. 5, 10:11-15. The specification states that in one embodiment, there is a “rectangular

  target area.” Id. at 6:30-34. The exemplary embodiments in the specification generally relate to



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  a light for illuminating a billboard, and the specification states that “[i]t is understood that

  various standard configurations of the lighting assembly 110 may be developed for various

  billboard and/or other externally illuminated signs . . .”. Id. at 8:3-8. But these statements of

  intended use, unless specifically claimed, do not limit the invention in their entirety. Many

  embodiments are described without reference to billboards or signs at all. See, e.g.,, id., 8:52-

  9:58; FIGs 7A-B, 8A-8J, 9.

          J.      Display Surface

               Term                           Ultravision                        Defendants
   Display surface                   plain and ordinary meaning         “sign surface”

   ’410 patent, claims 1, 7, 10,
   12, 14, 15, 19, 20, 21, 25, 26

   ’413 patent, claims 1, 2, 4, 5,
   6, 10, 11, 12, 16, 17
          The plain language of the claims themselves compels a plain meaning construction of

  “display surface,” and Defendants’ limiting construction should be rejected. The claims require

  the direction of light onto a “display surface,” which in certain instances can be part of a

  billboard. Compare ’410 patent, claim 1 (“configured to direct light from each of the plurality of

  LEDs of the lighting assembly onto a display surface external to the optics panel”) with claim 10

  (“the light from each lens is directed across the entire display surface of the billboard”). In short,

  when the patentee wanted to claim a billboard-only application, it chose to do so. The plain

  meaning of the term “display surface” is a surface that is to be displayed, and to narrow the

  claims beyond that is error. Even if the specification only discloses a single embodiment, the

  features and functions of that embodiment should not be read into the claims. Continental

  Circuits LLC v. Intel Corp., 915 F.3d 788, 797 (Fed. Cir. 2019) (expressly rejecting that the




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  claims of the patent must be construed as being limited to a single embodiment).6 Even

  assuming there was only a single disclosed embodiment related to a billboard light (there is not),

  the claim language controls. Re-drafting the “display surface” language in the claim to be a

  “sign surface” should be rejected.

            K.     Predetermined Bounded Area

                 Term                           Ultravision                   Defendants
      Predetermined bounded area       plain and ordinary meaning   “a bounded region that exists
                                                                    independent of light from the
      ’410 patent, claims 1, 21                                     claimed LEDs”
            As a “predetermined bounded area” is readily understandable to a jury, the plain and

  ordinary meaning applies. Defendants’ argument that the predetermined bounded area must

  exist “independent” of the light from the LEDs is unclear and duplicative. If Defendants are

  arguing that there must be some border around the “predetermined bounded area” when the

  claimed light is switched off, that is not supported by any of the intrinsic evidence.

            Claim 1 of the ’410 patent requires that the light is directed onto a display surface, “the

  display surface having a predetermined bounded area,” . . . “wherein the light from each of the

  LEDs is directed through the first lens element and the second lens element across the entire area

  of the display surface . . .” Ex. 1, 8:37-50. In order to measure the evenness of the light that

  strikes the display surface, it obviously must have some boundaries. But the boundaries do not

  need to exist “independent” from the light emitted by the claimed LEDs. Take, for example, a

  streetlight used on a highway. There is a portion of the highway that is the “display surface” and

  it includes a “predetermined bounded area” that is lit evenly. But during the day when the



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    Additionally, references in the patent to “the present invention” or “this invention” is not
  always limiting, such as here where portions of the intrinsic evidence do not support applying
  that limitation to the entire patent. Absolute Software, Inc. v. Stealth Signal, Inc., 659 F.3d 1121,
  1136-37 (Fed. Cir. 2011).


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  streetlight is off, there is likely not going to be anything on the highway that indicates the

  boundary of the incident light from that streetlight. The “predetermined bounded area” exists in

  the claims merely to define the area that is lit evenly by the claimed invention.

         L.      Desired Uniformity Ratio

               Term                           Ultravision                       Defendants
   Desired uniformity ratio          plain and ordinary meaning        Indefinite

   ’410 patent, claim 4
         Claim 4 of the ’410 patent states that “the illumination is provided at a desired uniformity

  ratio of average illumination to minimum illumination.” Ex. 1, 8:55-57. Claim 4 depends from

  claim 3, which states that “the illumination for each LED has a particular illumination profile.”

  Id. at 8:53-55. Defendants claim that this term is indefinite because the patent “fails to provide

  sufficient factors, tests or other objective indicators that would allow a POSITA to determine

  whether a uniformity ratio is ‘desired.’” Ex. 9, Josefowicz Decl., ¶ 74. Claim 3 requires that

  each LED has a particular illumination profile, claim 4 requires that the desired uniformity

  profile is expressed in a particular way, and claim 5 specifies that the uniformity ratio is 3:1. It is

  clear from the context of the claims that the “desired uniformity ratio” is the uniformity ratio

  desired by the designer of the apparatus. Ex. 8, ¶ 84. The designer would understand that

  manufacturers provide information on how the apparatuses should be installed, and that the ratio

  is that which the lighting apparatus is designed to provide when installed and used according to

  the manufacturer’s instructions, guidelines, and/or recommendations. Id. Therefore, claiming a

  “desired” uniformity ratio is not indefinite because whether illumination is provided at a desired

  uniformity ratio can be determined with reasonable certainty. See id.

  VI.    CONCLUSION

         For the reasons stated above, Ultravision respectfully requests the Court adopt its

  proposed constructions.


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  Dated: July 21, 2020                      Respectfully submitted

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                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on July 21, 2020, a true and correct copy of the

  above and foregoing document has been served on counsel of record via the Court’s CM/ECF

  system per Local Rule CV-5(a)(3).


                                                      /s/ Alfred R. Fabricant
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